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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,
                                                            File No: 1:12-CR-132
 v.
                                                            HON. ROBERT HOLMES BELL
 FRANCISCO MARTINEZ, JR.,

               Defendant.
                                        /


                            ORDER AND JUDGMENT
                    APPROVING REPORT AND RECOMMENDATION

        The Court has reviewed the Report and Recommendation filed by the United States

 Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

 and no objection has been made thereto within the time required by law.

        THEREFORE, IT IS ORDERED that:

        1.     The Report and Recommendation of the Magistrate Judge (docket # 1029) is

 approved and adopted as the opinion of the Court.

        2.     Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the

 charges set forth in Counts 1 and 15 of the Fourth Superseding Indictment.

        3.     The written plea agreement is hereby continued under advisement pending sentencing.




 Dated: May 13, 2014                                 /s/ Robert Holmes Bell
                                                     ROBERT HOLMES BELL
                                                     UNITED STATES DISTRICT JUDGE
